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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                              Case No. 07-20100-05-JWL


Jesus Gabriel Gandara-Escarcega,

                     Defendant.

                                  MEMORANDUM & ORDER

       In July 2009, Mr. Gandara-Escarcega pleaded guilty to conspiracy to distribute and

possession with intent to distribute more than 1000 kilograms of marijuana and more than 5

kilograms of cocaine. The court sentenced Mr. Gandara-Escarcega to the statutory minimum

sentence of 120 months. Nearly three years later, he filed a motion to vacate, set aside or correct

his sentence under 28 U.S.C. § 2255. In July 2012, the court dismissed that motion as time-

barred. This matter is now before the court on Mr. Gandara-Escarcega’s motion for order

seeking permission to have the Supreme Court review his case (doc. 285). The motion is denied

because it is untimely filed and, in any event, this court is not authorized to grant the relief that

Mr. Gandara-Escarcega seeks.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Gandara-Escarcega’s

motion for order (doc. 285) is denied.



       IT IS SO ORDERED.
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Dated this 10th day of December, 2013, at Kansas City, Kansas.



                                        s/ John W. Lungstrum
                                        John W. Lungstrum
                                        United States District Judge




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